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            ORDERED in the Southern District of Florida on September 13, 2019.




                                                           Erik P. Kimball, Judge
                                                           United States Bankruptcy Court
_____________________________________________________________________________
                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                                                       CASE NO.: 17-23640-BKC-EPK
                                                                    PROCEEDING UNDER CHAPTER 13

   IN RE:

   SHAWN THOMPSON
   XXX-XX-5883
   MARCEN MORRIS
   XXX-XX-5633

   _____________________________/
   DEBTORS

                        ORDER GRANTING TRUSTEE'S MOTION TO DISMISS

       THIS CAUSE came to be heard on the September 9, 2019 Consent Calendar without opposition on
   Robin R. Weiner, Standing Chapter 13 Trustee's ("Trustee") Motion to Dismiss ("Motion"), and based on
   the record, it is

      ORDERED:

      1. The Trustee's Motion is GRANTED.

      2. This case is dismissed without prejudice.
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                                                                     ORDER GRANTING MOTION TO DISMISS
                                                                             CASE NO.: 17-23640-BKC-EPK

  3. Any funds remaining in the possession of the Trustee, either in a pre-confirmation or
     post-confirmation account, shall be utilized by the Trustee to be applied to the payment of any
     outstanding filing fees or other costs due to the Clerk of Court with respect to the subject Chapter 13
     proceeding. The Trustee is authorized to disburse such funds, less all applicable Trustee's fees and
     costs on each such disbursement. If the Trustee does not have sufficient funds available to pay the
     balance due in full on behalf of the Debtors, the Debtors shall forthwith pay directly to the Clerk of
     the U.S. Bankruptcy Court any amount due and owing on said filing fees or other costs, as required
     by Local Rule 1017-2(E).

  4. The Clerk of Court is directed to refuse to accept for filing any future voluntary petitions submitted
     by the Debtors if the refiling violates a prior order of the Court or if the petition is accompanied by
     an Application to Pay Filing Fees and Administrative Fees in Installments and filing fees remain due
     from any previous case filed by the Debtors.

  5. All pending motions are denied as moot.

                                                   ###

ORDER SUBMITTED BY:

ROBIN R. WEINER, ESQUIRE
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 559007
FORT LAUDERDALE, FL 33355-9007
954-382-2001

COPIES FURNISHED TO:

DEBTORS
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3500 N. STATE ROAD 7
SUITE 440
LAUDERDALE LAKES, FL 33319

ROBIN R. WEINER IS DIRECTED TO SERVE COPIES OF THIS ORDER UPON THE PARTIES
LISTED AND FILE A CERTIFICATE OF SERVICE.
